     Case 2:90-cv-00520-KJM-SCR              Document 6721          Filed 06/15/20       Page 1 of 2


 1     XAVIER BECERRA, State Bar No. 118517                   ROMAN M. SILBERFELD, State Bar No. 62783
       Attorney General of California                         GLENN A. DANAS, State Bar No. 270317
 2     MONICA N. ANDERSON, State Bar No. 182970               ROBINS KAPLAN LLP
       Senior Assistant Attorney General                        2049 Century Park East, Suite 3400
 3     ADRIANO HRVATIN, State Bar No. 220909                    Los Angeles, CA 90067-3208
       Supervising Deputy Attorney General                      Telephone: (310) 552-0130
 4     ELISE OWENS THORN, State Bar No. 145931                  Fax: (310) 229-5800
       TYLER V. HEATH, State Bar No. 271478                     E-mail: RSilberfeld@RobinsKaplan.com
 5     KYLE A. LEWIS, State Bar No. 201041                    Special Counsel for Defendants
       LUCAS L. HENNES, State Bar No. 278361
 6     Deputy Attorneys General
        1300 I Street, Suite 125
 7      P.O. Box 944255
        Sacramento, CA 94244-2550
 8      Telephone: (916) 210-7318
        Fax: (916) 324-5205
 9      E-mail: Elise.Thorn@doj.ca.gov
       Attorneys for Defendants
10

11                                IN THE UNITED STATES DISTRICT COURT

12                             FOR THE EASTERN DISTRICT OF CALIFORNIA

13                                           SACRAMENTO DIVISION

14

15
       RALPH COLEMAN, et al.,                                 Case No. 2:90-cv-00520 KJM-DB (PC)
16
                                                Plaintiffs,   DEFENDANTS’ SUBMISSION OF MAPS
17                                                            AND DATA IN RESPONSE TO THE
                      v.                                      JUNE 10, 2020 ORDER
18

19     GAVIN NEWSOM, et al.,

20                                            Defendants.

21

22          On May 8, 2020, the Court ordered Defendants to submit by May 15, 2020 maps and other

23     data concerning the housing of Coleman class members to reduce the spread of COVID-19 and

24     enhance physical distancing. (ECF No. 6661 at 11-12). Defendants submitted the maps and

25     other documents in camera on May 15, 2020. (ECF No. 6706 at 2.) On May 22, 2020, the Court

26     ordered the parties to meet and confer and file by May 27 “a stipulated request concerning the

27     filing of the maps and other documents” describing the California Department of Corrections and

28     Rehabilitation’s mental health programs at various prison facilities, as impacted by the COVID-
       [3419376.1]                                     1
                           Defs.’ Submission of Maps and Data in Resp. to 6/10/20 Order (2:90-cv-00520 KJM-DB (PC))
     Case 2:90-cv-00520-KJM-SCR               Document 6721          Filed 06/15/20       Page 2 of 2


 1     19 pandemic. (ECF No. 6681 at 1.) The May 22 order also requires Defendants to file updated

 2     maps and accompanying information the 15th of every month, starting on June 15 (today). (Id. at

 3     2.) On June 10, the Court approved and ordered the parties’ stipulation concerning the filing of

 4     maps and other documents describing the California Department of Corrections and

 5     Rehabilitation’s mental health programs at various prison facilities, as impacted by the COVID-

 6     19 pandemic. (ECF No. 6706.) The stipulation provides that the submitted maps, and any

 7     revised version of the maps contemplated by the May 22 order, should be filed under seal. (Id.)

 8     In addition to the maps, the requested information includes patient census, and level-of-care data

 9     and information that does not need to be filed under seal. (ECF No. 6706 at 2.)

10               Attached is a letter enclosing updated maps and other documents describing the California

11     Department of Corrections and Rehabilitation’s mental health programs at various prison

12     facilities impacted by the COVID-19 pandemic. Defendants concurrently have filed the

13     referenced maps under seal.

14       Dated: June 15, 2020                                       XAVIER BECERRA
                                                                    Attorney General of California
15                                                                  ADRIANO HRVATIN
                                                                    Supervising Deputy Attorney General
16

17                                                                  /S/ ELISE OWENS THORN
                                                                    Elise Owens Thorn
18                                                                  Deputy Attorney General
                                                                    Attorneys for Defendants
19

20

21

22

23

24

25

26

27

28
       [3419376.1]                                           2
                            Defs.’ Submission of Maps and Data in Resp. to 6/10/20 Order (2:90-cv-00520 KJM-DB (PC))
